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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                                                   CRIMINAL

                                 v.
                                                          NO.       C \< - \ g    ·6 l   (p
 J    U511 N           \J ~\)   1~    "1A-~

                                 CONDITIONS OF RELEASE ORDER

                                                  BAIL

Defendant is released on bail in the amount of: $ / /J)q 6 o 0
         _Lo;R
                cash
        _ _ _ secured by:
                        % cash
                 ___ property a t : - - - - - - - - - - - - - - - - - - - -
                 ___Clerk's office requirements are not waived. Execute an Agreement to Forfeit the
Property stated above with a copy of the deed as indicia of ownership.

                                       PRETRIAL SERVICES

   i/'   Defendant shall report to Pretrial Services:
                --'I/"- as directed by Pretrial Services.
                          times per week in person.
                          times per week via telephone.

~efendant shall attend mental health services under the guidance and supervision of Pretrial
    Services.
    Defendant shall submit to random drug testing as directed by Pretrial Services.
    Defendant shall refrain from excessive. use of alcohol or from any use of a narcotic drug or other
    controlled substance, as defined in Section 102 of the Controlled Substances Act, 21 U.S.C. § 802,
    without a prescription by a licensed medical practitioner.
    Defendant shall undergo drug/alcohol treatment if necessary as determined by Pretrial Services.
    Defendant shall submit to electronic monitoring at the following address:


         _ _ _This Court, based upon evidence that Defendant has adequate financial resources, finds
         that he/she shall pay all or part of the cost of the court-ordered monitoring program, in an amount
         to be specified by Pretrial Services.

         _ _ Curfew. You are restricted to your residence every day from                to
                                                                                           ----
         during which electronic monitoring will be in place, or as directed by the pretrial services
         office or supervising officer.

         --~Home Detention. You are restricted to your residence at all times except for
         employment; education; religious services; medical, substance abuse, or mental health
         treatment; attorney visits; court appearances; court-ordered obligations; or other activities
         approved in advance by the pretrial services office or supervising officer;
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       ----'Home Incarceration. You are restricted to 24-hour-a-day lock-down at your
residence except for medical necessities and court appearances or other activities specifically
approved by the court.
I                                         PASSPORT

          /    Defendant shall surrender and/or refrain from obtaining a passport.

                                              TRAVEL

         ~Travel is restricted to the Eastern District of Pennsylvania.        _
        --- Travel is restricted to the 'D1£':'.>T(2 IC 'C  o+   "1YcL~ "'I- c
        ___ Unless prior permission is granted by Pretrial Services.

                                            FIREARMS

        --"~'--
             Defendant shall surrender and/or refrain from obtaining any firearms. Any other firearms
             in any premises where the defendant resides while on supervised release must be removed
             from the premises and no firearms are to be brought into the premises during this period.
             The defendant shall execute a completed Prohibition on Possession of Firearms
             AB!_eement.

                                                                        MISCELLANEOUS

          / Defendant shall have no contact with co-defendants, potential witnesses in this case, or
             individuals engaged in any criminal activity.
        ___ Defendant must maintain present employment.
         . / Defendant must actively seek gainful employment.
        ___ Defendant shall undergo a mental competency evaluation.
        ___ Defendant must reside:
                     at:

                        with:
                                ----~-----
                                                                        COMPUTERS/INTERNET

        __0_The Defendant is subject to the following computer/internet restrictions which are to be
monitored by U.S. Pretrial Services and may include manual inspection, use of minimally invasive internet
detection devices, and/or installation of computer monitoring software to insure compliance with the
imposed restrictions.


       _ _ _No computer: The Defendant is prohibited from possession and/or use of any computers
and connected devices.

        _ _ _ Computer, no internet access: The Defendant is permitted use of computers or connected
devices, but is not permitted access to the Internet (as World Wide Web, FTP sites, IRC servers, instant
messaging). /
        __V  __Computer with internet access: The Defendant is permitted use of computers or
connected devices, is permitted access to the internet for legitimate purposes, and is responsible for any
fees connected with the installation and use of monitoring software.
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        ____ Other Residents: By consent of other residents, all computers located at the address of
record shall be subject to inspection to insure the equipment is password protected.

         ____Other Restrictions:

         OTHER CONDITIONS:

        AB a further condition of release, defendant shall not comm.it a Federal, State, or local crime
during the period of release. The commission of a Federal offense while on pretrial release will result in an
additional sentence of a term of imprisonment of not more than 10 years, if the offense is a felony; or a
term of imprisonment of not more than 1 year, if the offense is a misdemeanor. This sentence shall be in
addition to any other sentence.

       Any violation of the conditions of release may result in revocation of bail and imprisonment
pending trial.




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                                                                 DEFENSE ATTORNEY




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         It is so ORDERED this    Y/        day of ,    (.L~</·I ::, , 20. /{}



                                           BY THE COURT:

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Last Revised: 9-20-16
